                  Case 5:18-po-62770 Document 1 Filed in TXSD on 07/30/18 Page 1 of 1
 AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   SouthernDistrict
                                               __________   Districtofof__________
                                                                         Texas

                   United States of America                        )
                              v.                                   )
                 Javier GUZMAN-Gonzalez                            )      Case No.
                                                                   )                 L-18-PO62770
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                   July 25, 2018               in the county of                  Webb                in the
       Southern         District of           Texas            , the defendant(s) violated:

             Code Section                                                    Offense Description
8 USC 1325(a)(1)                            an alien, did unlawfully enter and attempt to enter the United States at a place other than
                                            designated by an immigration officer.




          This criminal complaint is based on these facts:
Furthermore, it is based on verbal statements by, Javier GUZMAN-Gonzalez, who admitted being a citizen of Mexico, who entered
or attempted to enter illegally into the United States by wading the Rio Grande River near, Laredo, Texas, thus avoiding immigration
inspection, nor having proper documents to enter, travel through, or remain in the United States. This illegal entry or attempted entry
took place on July 25, 2018.




              Continued on the attached sheet.
                                                                                                   /S/Jorge Paez
                                                                                              Complainant’s signature

                                                                          Jorge Paez                       , Border Patrol Agent
                                                                                               Printed name and title

 Sworn
 Affiant to before
         Jorge Paezme and signed in my presence.
 sworn and attested
 on July 30, 2018, at 3:14 PM,
 Date:   July 30, 2018
 at Laredo, Texas.
                                                                                                 Judge’s signature

 City and state:      Laredo, Texas                                       John Kazen                       , U.S. Magistrate Judge
                                                                                               Printed name and title
